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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


 UNITED NATURAL FOODS, INC.,
                          Plaintiff,
     v.                                                C.A. No. 23-cv-00196-MSM-PAS
 WAY OF WILL, INC.,
                          Defendant.

                                 AMENDED DEFAULT JUDGMENT

                 Judgment by default hereby enters in favor of Plaintiff, United Natural Foods, Inc.,

 and against Defendant, Way of Will, Inc., in the total amount of $166,599.13 which consists of a

 principal amount of $147,579.54 and prejudgment interest of $19,019.59 as of February 5, 2024.

 Plaintiff is also entitled to costs.



                                                       __________________________________
                                                       Deputy Clerk


           4/8/2024
  Date: ____________________
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                                         SUBMITTED BY:



                                         /s/ Daniel E. Burgoyne
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                                         dburgoyne@psh.com

                                         ATTORNEY FOR PLAINTIFF,
 DATED: February 7, 2024                 UNITED NATURAL FOODS, INC.

 4886-7048-4643




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